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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                      PALM BEACH DIVISION

                                          CASE NO. 9:23-cv-81599
 JANE DOE,

         Plaintiff,

 v.

 CLASSICA CRUISE OPERATOR LTD. INC.,

       Defendant.
 ________________________________/

                                  COMPLAINT FOR DAMAGES
                                AND DEMAND FOR TRIAL BY JURY

         Plaintiff, JANE DOE, 1 by and through undersigned counsel, sues Defendant, CLASSICA

 CRUISE OPERATOR LTD., INC. ("CLASSICA"), and demands trial by jury, and alleges:

                               JURISDICTION, VENUE AND PARTIES

         1.    JANE DOE is sui juris and is a citizen and resident of the State of West Virginia.

         2.    CLASSICA is a corporation incorporated in the state of Florida and with its principal

 place of business in the State of Florida.

         3.    Subject matter jurisdiction exists in admiralty pursuant to 28 U.S.C. §1333. JANE

 DOE’s cause of action as alleged below arises out of events occurring on navigable waters and out

 of a traditional maritime activity, the operation of a passenger cruise vessel.

         4.    At all material times, CLASSICA, has conducted ongoing substantial and not isolated

 business activities in the Southern District of Florida, so that in personam jurisdiction exists in the

 United States District Court for the Southern District of Florida.


 1
   JANE DOE is proceeding through the use of a pseudonym due to the sensitive nature of the allegations set forth
 below. CLASSICA is aware of JANE DOE’s real name, having been advised of it in the notice of claim letter sent by
 JANE DOE’s counsel to CLASSICA.
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         5.     At all material times, CLASSICA, engaged in the business of operating maritime

 cruise vessels for paying passengers, including JANE DOE.

         6.     The ticket contract between the parties, which was drafted by or on behalf of

 CLASSICA without any negotiations with JANE DOE, requires all fare paying passengers to bring

 any lawsuit against CLASSICA arising out of injuries or events occurring on the cruise voyage in

 this federal judicial district. Furthermore, CLASSICA does business in this judicial district. Venue

 is therefore proper in this Court.

         7.     JANE DOE seeks damages in excess of $75,000.00, exclusive of interest, costs, and

 attorneys’ fees.

         8.     This Court also has diversity jurisdiction pursuant to 28 U.S.C. § 1332, as the matter in

 controversy exceeds the sum or value of $75,000.00, exclusive of interest and costs, and is between

 citizens of different states and/or citizens of a state and citizens or subjects of a foreign state.

         9.     JANE DOE pleads both admiralty and diversity jurisdiction in an abundance of caution,

 but she elects to proceed under diversity jurisdiction to the extent diversity jurisdiction exists.

         10. All conditions precedent for filing and maintaining this action have been fulfilled, have

 been waived, or do not apply.

                                             COMMON ALLEGATIONS

         11. At all material times, JANE DOE, was a fare paying passenger on board the

 “Mragaritaville at Sea,” a passenger cruise vessel sailing from the port of Riviera Beach, Florida to

 Freeport, Bahamas.

         12. On or about the evening of May 5, 2023, JANE DOE and her cabinmate, “H.B.,”2

 purchased alcoholic beverages at an onboard bar on the Margaritaville at Sea. To do so, they both


 2
   H.B. has also alleged that Mr. Hoobesh Kumar Dookhy” raped her aboard the Margaritaville at Sea and has filed a
 complaint against the same Defendant (H.B. v. Classica Cruise Operator Ltd. Inc.; Case No. 23-81144 (S.D. Florida)).
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 charged the beverages to their cabin number, thereby providing crewmembers staffing the bar access

 to their shared cabin number and room key.

         13. After purchasing and consuming alcoholic beverages at the onboard bar, JANE DOE and

 H.B. returned to their shared cabin. Later that night, as JANE DOE and H.B. slept, CLASSICA’s

 crewmember, HOOBESH KUMAR DOOKHY (“DOOKHY”), 3 entered their shared cabin and raped

 JANE DOE.

         14. As a result, JANE DOE, became pregnant, and was forced to terminate the pregnancy

 from which she then suffered serious complications.

         15. As a further direct and proximate result of the subject incident, JANE DOE was injured

 in and about her body and extremities, suffered physical, emotional and psychological pain therefrom,

 embarrassment, humiliation, sustained mental anguish and emotional and psychological pain and

 suffering, aggravation and activation of preexisting conditions, and sustained disability and the

 inability to lead a normal life. She has incurred expenses for medical and mental health treatment and

 counseling and will continue to do so in the future, with the future health care expenses being

 reasonably certain to occur. These damages are permanent or continuing in their nature and JANE

 DOE will continue to sustain and incur such compensatory damages in the future.

                      COUNT I - CLASSICA CRUISE OPERATOR LTD., INC.

         16. JANE DOE adopts, realleges and incorporates by reference all of the jurisdictional and

 common allegations in Paragraphs one (1) through fifteen (15) above and further alleges the following

 matters:

         17. At all material times, CLASSICA, operated the passenger cruise vessel, Margaritaville

 at Sea, on which JANE DOE was a passenger.


 3
  DOOKHY has pled guilty to criminal charges brought against him for his actions against H.B. on the date and time
 of the subject incident (USA v. Dookhy; Case No. 23-80096 (S.D. Florida)).
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         18. At all material times, HOOBESH KUMAR DOOKHY (“DOOKHY”), was a

 crewmember working aboard the Margaritaville at Sea.

         19. At all material times JANE DOE was a fare paying passenger onboard the Margaritaville

 at Sea, a passenger vessel operated by CLASSICA. As a common carrier, CLASSICA has a

 nondelegable duty to JANE DOE to protect her from intentional torts committed by its crewmembers

 upon her, including the tortious activity described below.

         20. At all material times, DOOKHY, committed an intentional tort against JANE DOE, a

 passenger of CLASSICA, specifically the tort of sexual assault and/or sexual battery.

         21. At all material times, DOOKHY, committed an intentional tort against JANE DOE, a

 passenger of CLASSICA, in the course of a voyage for which JANE DOE was a fare paying passenger

 of CLASSICA. CLASSICA , at all material times, breached its nondelegable duty to JANE DOE and

 is accordingly strictly and vicariously liable for the damages to JANE DOE caused by DOOKHY’S

 actions, including those damages previously alleged. See Doe v. Celebrity Cruises, Inc., 394 F.3d 891

 (11th Cir. 2004).

         22. In addition, since the actions of DOOKHY were at all material times undertaken willfully

 and wantonly, and were also ratified by CLASSICA, CLASSICA is liable to JANE DOE for punitive

 damages.

         WHEREFORE, Plaintiff, JANE DOE, requests judgment in her favor against Defendant,

 CLASSICA CRUISE OPERATOR LTD., INC., for compensatory and punitive damages and the costs

 of this action and furthermore demands trial by jury of all issues so triable as of right.

                                    DEMAND FOR JURY TRIAL

         Plaintiff, JANE DOE, demands trial by jury on all issues so triable.

 Dated: December 29, 2023.


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                                          Respectfully submitted,

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